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                                                               FILED: April 3, 2018


                    UNITED STATES COURT OF APPEALS
                        FOR THE FOURTH CIRCUIT

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                                   No. 17-4475
                              (1:16-cr-00162-GBL-1)
                              ___________________

UNITED STATES OF AMERICA

             Plaintiff - Appellee

v.

YUSUF ABDIRIZAK WEHELIE

             Defendant - Appellant

                              ___________________

                                JUDGMENT
                              ___________________

      In accordance with the decision of this court, this appeal is dismissed.

      This judgment shall take effect upon issuance of this court's mandate in

accordance with Fed. R. App. P. 41.

                                       /s/ PATRICIA S. CONNOR, CLERK
